                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                3:12-cv-283-FDW
                                (3:09-cr-39-FDW)

JAWAAD NASH,                                  )
                                              )
                                              )
                      Petitioner,             )
                                              )
                                              )             ORDER
       v.                                     )
                                              )
UNITED STATES OF AMERICA,                     )
                                              )
                  Respondent.                 )
___________________________________           )

       THIS MATTER comes before the Court on Petitioner’s pro se “Motion for Rule 60(b)(5)

for relief from the Order and Judgment denying Motion attacking sentence pursuant to 28 U.S.C.

§ 2255.” (Doc. No. 27). For the reasons that follow, the Court finds that the motion is an

unauthorized, successive petition.

       I.      BACKGROUND

       Petitioner filed the underlying motion to vacate on May 4, 2012, contending that he was

entitled to sentencing relief under the Fourth Circuit’s en banc decision in United States v.

Simmons, 649 F.3d 237 (4th Cir. 2011). In an order dated March 4, 2013, this Court granted the

Government’s motion to dismiss the petition. (Doc. No. 14). On August 28, 2013, the Fourth

Circuit Court of Appeals dismissed Petitioner’s appeal in an unpublished opinion. United States

v. Nash, 538 Fed. Appx. 362 (4th Cir. 2013). On November 8, 2013, the Fourth Circuit denied

Petitioner’s petition for rehearing. (Doc. No. 19). On June 30, 2014, Petitioner filed a motion for

reconsideration in this Court. (Doc. No. 21). On July 22, 2014, the Court denied Petitioner’s

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motion for reconsideration as an unauthorized successive petition. Petitioner appealed, and the

Fourth Circuit subsequently dismissed the appeal. The Fourth Circuit also treated Petitioner’s

appeal as an application to file a second or successive petition, and the Fourth Circuit denied

authorization to file a § 2255 successive petition. Petitioner filed the pending motion on August

10, 2015, again contending that he is entitled to relief under Simmons, and citing Newbold v.

United States, 791 F.3d 455 (4th Cir. 2015).

        II.        DISCUSSION

        Under 28 U.S.C. § 2244(b)(3)(A), “[b]efore a second or successive application permitted

by this section is filed in the district court, the applicant shall move in the appropriate court of

appeals for an order authorizing the district court to consider the application.” Where a petitioner

seeks relief from a judgment under Rule 60(b) on grounds other than a clerical mistake, courts

must treat such a motion as seeking successive post-conviction relief when failing to do so would

allow the applicant to evade the bar against relitigation of claims presented in a prior application

or the bar against litigation of claims not presented in a prior application. United States v.

Winestock, 340 F.3d 200, 206 (4th Cir. 2003) (requiring district courts to review Rule 60(b)

motions to determine whether such motions are tantamount to a § 2255 motion). With regard to

Rule 60(b) motions that are actually attempts at successive collateral review, the Fourth Circuit

has stated that:

        a motion directly attacking the prisoner’s conviction or sentence will usually
        amount to a successive application, while a motion seeking a remedy for some
        defect in the collateral review process will generally be deemed a proper motion to
        reconsider.

Id. at 207.

        Here, because Petitioner’s instant motion attacks the validity and length of his sentence, it


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is in effect a successive petition, and Petitioner must obtain prior authorization to file such petition.

Thus, Petitioner must first obtain an order from the Fourth Circuit before this Court will consider

any second or successive petition under 28 U.S.C. § 2255. Petitioner has not shown that he has

obtained the permission of the Fourth Circuit to file a successive petition. Accordingly, the motion

must be denied and dismissed as an unauthorized, successive petition.

        III.    CONCLUSION

        For the reasons stated herein, Petitioner’s Rule 60(b) motion is denied and dismissed as an

unauthorized, successive § 2255 petition.

        IT IS, THEREFORE, ORDERED that:

        1.      Petitioner’s “Motion for Rule 60(b)(5) for relief from the Order and Judgment

                denying Motion attaching sentence pursuant to 28 U.S.C. § 2255,” (Doc. No. 27),

                is DENIED as an unauthorized, successive § 2255 petition.

        2.      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

                Section 2254 and Section 2255 Cases, this Court declines to issue a certificate of

                appealability. See 28 U.S.C. § 2253(c)(2); Miller–El v. Cockrell, 537 U.S. 322,

                338 (2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that

                reasonable jurists would find the district court’s assessment of the constitutional

                claims debatable or wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (when

                relief is denied on procedural grounds, a petitioner must establish both that the

                dispositive procedural ruling is debatable and that the petition states a debatable

                claim of the denial of a constitutional right).


                                             Signed: February 26, 2016


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